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         P.O. BMX 3456                                                                                                  '~
                                                                                                       ~SYRICT OF CALt~~N
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                                           CENT~2AL DIS`I'~tl~'T OF GAI.I~RNAI


         IAri~iv20 R. 'MTRN~R                                  CASE N0. Z:t4—cy_c~{T~$ c~VS CAC~~Rj
-        PLAINTIFF                                             MOTIC7I~ ~'Q ~ APPOIN"IMF,t~T
         v.                                                    0~ C~7U1'~SEL
         REE~NTAi~'
,~       B.P'l. CASf{~ ~Ta3.~

         Plaintiff, LA~ONZC) I1. 'TUt~1Eft pur~ua~t to 1915 request this court to appoint
         counsel to represent hitn in this case fot the follflwing reasons;
     -   1. Plaintiff has already placed this court on notice of the need for counsel due
         to Plaintiff's traumatic brain wound.. _and without this ~~court's ruling on said
         motion sent/forced Plaint~.ff ~"~~`~ ~~~frt~w~~L_               which fir. Turner e~ul~
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         person wo~s1~ not say or ~o. ~~~ay t~is ~o~-,ora~le Gourt take notice: ~n u~A~lf
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         assistG~nc~ of Plaintiff ik-~ all 1e~al matters fo~ t ~.e fo~lo~=ing reasons: ~'l.ai~iti
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         able tc~ partici~~.~te ici any rna~iner ~~ co~~lex t~ou~ht processes.
         ~      T -~~ issues involved in t~~is case are coc;~~lexzci and p'laintiff's avility tQ
         actic~late his chins Prc~ Se in lint o~ t~~ ca-nplexity o~ the 1~,~~1 issues
         involved nave b~~n severely d.minish~c~, ~~s it wi11 obviously be nec~;~aary to
 Case 2:14-cv-04758-SB-AGR Document 170 Filed 02/04/19 Page 2 of 8 Page ID #:1538

present medical expert witnesses and to cross-examine ~ie~i~~l expert witnesses
called by Defendant or both, as mast medical needs and particularly in tt~e
instant case at bar is a close one ba~~d on ~jcc~c~-          that w:i11 turn on
standards or care, causatio~l and medical treatrc~ent issues, policies and state
regulations that will require the testimony of experts. As we11 the counsel o£
an ~x~ert, as the task is u~doubtly complex CA'~'AL~ v. ~i~X3X, 207 w1 2 33924 at
2 207 U,S.: Dist. Lexis 98521 ~t 5 (S~B, Cal. Jane 2~,. 2QI7)
                                           CUC~fCLUSI0Ii~3
       '~ laint ~f requests judicial notice [~t.J.N~ ,j and this court incorporate the
motion for appointir~ent of counsel still before it in fu11 witk~ this ,notion and
~r~nt counsel far t~9r. Turner to fully represent i~irn in a trial proceeda.ng. 50LIS_.
v. CUCJ~I`lC c~~ LOS A~G~T.,~S, 514 ~. 3rd X346; 9S8 (9th C r, 2~~3).    E1C~{c~t~ ~/i~


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                                          Plaintiff
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is true and correct a~~ ~aKuhR~ 3[ ~ aojq


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       Case 2:14-cv-04758-SB-AGR Document 170 Filed 02/04/19 Page 4 of 8 Page ID #:1540

Patient Name: TURNER, LAFONZO RAY                                                                                                                                         MRN: G05794
Dale Ot Birlh: 9/16/1972 00:00 PDT                                                                                                                   FI N: 1 000000101 1 21 5433605794


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                                 PATIENT:               ~URNF.R,LA60N7A.                                              LOC:23101 GCU7.X131 d 1(661)949.5444
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                                 IMPRESSION:

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                                 inin A~ 6~1S mmI~t 1i~! ~~iiimotor iui~riot du iit~,
                                 2.~No evidence' For addiiidnal ex~rs-axial hetnorthages or onset of parenchymal hemorthages.
                                 3. IVlultiple left orbital wall:&acmres involving the left prbit~l hoof, rined►al and late(al and 9rblt~l
                                 floors.                                   .                          .. _ _
                                 4.'Nfl $igbifeent ntcival ctlu~gc in ~et~t ledc~el bphcgoid wall              ua      ly~ posiVai[io
                                 b      l~enodandtheleft           vwipgo~l1lG;tp~lonCi~with`small~~.f               trefr         at tip `left
                                 infcrior'oibital fissure.
                                 5. Mute air fluid level within the sphenoid fiinti~ and soft tissue in ttie left,efhmoid sinus gecondery
                                 t~ adja~cnt lcfl lamina papyraccs $aotuic:




                                 RPTAT: HDG
                                 CLINI~A~ INFORMATION: Headaches status post lreuma

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                                 -340 mere given. intraYen6~slyvviti~ttt.con~jslic~tign~ Muitipta~ar rda~teed imegaa were made.
                                 lms~ were rev'rawed on a PASS 7w~v[ksfstion. The CTDlvnl is IQ1:4ti (aK;~+) airy tMi ~L!' i6    f
                                 1b5$.52 (iatGy~cin~. D[C~M inadgta are avai~ebie.

                                 One of the tbllowing 3 dohs reduction techniques we[c used dieing this CT cxaminatipn:.
                                 1}Automated exposure corlirol
                                 2) Ad~us4ncnt. of the mA +I= kV eccar~ling fo pati~nf size or
                                 3) Ur~t of iterative reconstnictioa techiiigtt~                                                          ~

                                 COMPAR[50N: Multiple CTs oFthe 6iain on 07/12/201R andMR drain O7/12/2DI~i

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                                                                                                        MRN~AC(.'T~l:     01333495/1K 19300434
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Facility: COR                                                                                                                                                        Page 140 of 250
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 Palfent Name: TURIJER, ~AFON20 RAY                                                                                                                                        MRN: G05794
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Facility: COR                                                                                                                                                          Page 141 of 250
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